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 5   Attorney for Plaintiff
     FIND THE ORIGIN INC.
 6

 7
                                   UNITED STATES DISTRICT COURT
 8
                                  NORTHERN DISTRICT OF CALIFORNIA
 9
                                             SAN JOSE DIVISION
10

11
      FIND THE ORIGIN INC., a Delaware                Case No.:      23-cv-01424-PCP
12    Corporation,
                                                    JOINT NOTICE OF SETTLEMENT
13                                   Plaintiff,     AND REQUEST TO RETAIN
                                                    JURISDICTION
14                           v.
15                                                  Judge Hon. P. Casey Pitt
      ORIGIN B.V., a Kingdom of the
16    Netherlands Corporation, and DOES 1
      through 10,
17
                                     Defendants.
18

19
            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff
20
     Find the Origin, Inc. (“Plaintiff”) and Defendant Origin BV (“Defendant ”) (collectively with
21
     Plaintiff, the “Parties”) as follows:
22
            WHEREAS, on or about February 27, 2024, the Parties finalized a written settlement
23
     agreement, fully resolving this entire lawsuit (the “Settlement Agreement”).
24
            WHEREAS, the Settlement Agreement contains certain obligations that are expected
25
     to be fully performed by no later than May 1, 2024;
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               Case 5:23-cv-01424-PCP Document 55 Filed 03/06/24 Page 2 of 4




 1
             WHEREFORE, it is hereby stipulated and agreed by the Parties, and subject to the Court’s
 2
     approval, that the Court vacate all future hearings and deadlines in this lawsuit, including
 3
     but not limited to the trial date, and retain jurisdiction over the Parties and this lawsuit for a period
 4
     of 60 days util the Parties have completed performance of all terms of the Settlement Agreement
 5
     and the Parties file a Request for Dismissal.
 6
             DATED this 6th day of March, 2024.
 7
                                                         Respectfully submitted,
 8
                                                         By s/
 9
                                                             Duy Q. Thai
10                                                           Benjamin Ashurov
                                                             Gamma Law, P.C.
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15
                                                         By s/
16
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17                                                           (admitted pro hac vice)
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25                                                           david@makmanlaw.com
26                                                           Attorneys for Defendant Origin Travel
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              Case 5:23-cv-01424-PCP Document 55 Filed 03/06/24 Page 3 of 4




 1                       ATTESTATION OF CONCURRENCE IN FILING
 2          Pursuant to Civil L.R. 5-1(h)(3), I hereby attest that concurrence in the filing of this

 3   document has been obtained from each of the other signatories.

 4   DATED: March 6, 2024
 5
                                                        By:    /s/
 6
                                                               Attorney for Plaintiff
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 1                                       [PROPOSED] ORDER
 2         Upon consideration of the Parties’ JOINT NOTICE OF SETTLEMENT AND REQUEST
 3
     TO RETAIN JURISDICTION and the entire record herein, it is hereby ORDERED:
 4
           1.     That the Joint Notice of Settlement and Request to Retain Jurisdiction is hereby
 5
                  GRANTED;
 6

 7         2.     That the Parties have up to and including May 4, 2024 to file a Request for Dismissal;

 8                and

 9         3.     That all deadlines in the lawsuit are hereby VACATED.
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11
     IT SO ORDERED.
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14   Dated:
                                                        HONORABLE P. CASEY PITTS
15
                                                       UNITED STATES DISTRICT JUDGE
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